       Case 1:08-cr-00212-AWI Document 316 Filed 03/18/10 Page 1 of 2



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     Assistant U.S. Attorney
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 4   Telephone: (559) 497-4000

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 8                 IN THE UNITED STATES DISTRICT COURT FOR THE

 9                        EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                )   1:08-cr-0212 OWW
                                              )
12                     Plaintiff,             )
                                              )
13          v.                                )   STIPULATION RE:
                                              )   CONTINUANCE AND ORDER
14   JASDEV SINGH,                            )
                                              )
15                                            )
                    Defendant.                )
16   _________________________________)

17          Defendant JASDEV SINGH, by and through his attorney, STEPHEN

18   QUADE, and the United States of America, by and through its

19   attorneys, BENJAMIN B. WAGNER, United States Attorney, and KAREN

20   A. ESCOBAR, Assistant United States Attorney, hereby enter into

21   the following stipulation:

22          1.   The parties to the above-captioned matter agree to vacate

23   the March 22, 2010, sentencing date and reset the matter for April

24   26, 2010, at 9:00 a.m.

25          2.   The parties stipulate that the continuance is

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       Case 1:08-cr-00212-AWI Document 316 Filed 03/18/10 Page 2 of 2



 1   necessitated by the defendant’s need to prepare adequately for

 2   sentencing.

 3   DATED: March 17, 2010                        Respectfully submitted,

 4                                                BENJAMIN B. WAGNER
                                                  United States Attorney
 5
                                                  By: /s/ Karen A. Escobar
 6                                                  KAREN A. ESCOBAR
                                                  Assistant U.S. Attorney
 7

 8                                                 /s/ Stephen Quade
                                                   STEPHEN QUADE
 9                                                 Attorney for Defendant
                                                   JASDEV SINGH
10
                                   O R D E R
11
          Having read and considered the foregoing stipulation,
12
          IT IS THE ORDER of the Court that the current sentencing date
13
     of March 22 is hereby vacated and is reset for April 26, 2010, at
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     9:00 a.m.
15
     IT IS SO ORDERED.
16
     Dated: March 17, 2010                  /s/ Oliver W. Wanger
17   emm0d6                            UNITED STATES DISTRICT JUDGE

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